76 F.3d 390
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Kevin M. WRIGHT, Defendant-Appellant.
    No. 95-55908.
    United States Court of Appeals, Ninth Circuit.
    Submitted Jan. 23, 1996.*Decided Jan. 30, 1996.
    
      Before:  ALARCON, HALL and BRUNETTI, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      We affirm the district court's denial of federal prisoner Kevin M. Wright's 28 U.S.C. § 2255 motion to vacate his criminal conviction on double jeopardy grounds.  See United States v. Cretacci, 62 F.3d 307 (9th Cir.1995) (administrative forfeiture of unclaimed property does not constitute punishment);  United States v. Washington, 69 F.3d 401, 404 (9th Cir.1995) ( Cretacci applies retroactively).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    